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 1 CHRISTOPHER CHIOU
   Acting United States Attorney
 2 District of Nevada
   Nevada Bar Number 14853
 3 SKYLER H. PEARSON
   Assistant United States Attorney
 4 501 Las Vegas Blvd. So., Suite 1100
   Las Vegas, Nevada 89101
 5 (702) 388-6336
   skyler.pearson@usdoj.gov
 6 Attorneys for the United States

 7
                                 UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF NEVADA
 9
                                                       Case No. 2:21-cv-00901-GMN-NJK
10   Robert Zappulla,
11                                                         ORDER GRANTING
                    Plaintiff,
                                                       Stipulation to Extend Remaining
12         v.                                          Deadlines (First Request)
13   United States of America,
14                  Defendant.
15

16          Pursuant to LR 26-3, the parties, by and through their respective counsel of record,

17 stipulate and request that this Court extend all remaining deadlines by ninety (90) days.

18 This is the first request for an extension of time. This stipulation is filed more than 14 days

19 before the next discovery deadline (the filing would have occurred 21 days prior, however,

20 there was a delay due to the Thanksgiving holiday and related time off).

21          A.     Discovery Completed

22          1.     On May 7, 2021, Plaintiff filed his Complaint. ECF No. 1.

23          2.     On July 13, 2021, Plaintiff filed his First Amended Complaint. ECF No. 8.

24          3.      On August 13, 2021, the United States filed its Answer. ECF No. 9.

25          4.     On September 22, 2021, the parties submitted a Joint Discovery Plan and

26 Scheduling Order. ECF No. 10.

27          5.     On September 23, 2021, the Court entered a Joint Proposed Discovery Plan

28 and Scheduling Order. ECF No. 11.
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 1          6.       On October 8, 2021, Plaintiff served his initial FRCP 26(a)(1) disclosures.
 2          7.       On October 12, 2021, the United States served its initial FRCP 26(a)(1)
 3   disclosures.
 4          8.       On October 18, 2021, Plaintiff provided an executed HIPAA release.
 5          B.       Discovery Remaining
 6          The discovery that remains to be completed includes:
 7          1.       Written discovery.
 8          2.       Depositions of the parties, treating physicians, and other necessary third-
 9                   parties.
10          3.       Subpoena and production of additional medical records and billing.
11          4.       Expert disclosures and depositions.
12          5.       Any discovery contemplated under the Federal Rules of Civil Procedure.
13          C.       Reason for Requested Extension
14          This case involves a motor vehicle-pedestrian accident that occurred in the parking
15   lot of a car dealership. The parties have exchanged medical records and administrative
16   claim records. The parties are currently attempting to obtain additional medical records, as
17   well as other records, from third-parties. Due to two other AUSAs leaving the civil division
18   in the next few weeks, AUSA Pearson’s calendar is currently busier than normal with taking
19   on additional cases from the departing AUSAs. Therefore, the parties seek to extend
20   discovery ninety (90) days to the give the parties ample time to obtain records and proceed
21   with fact witness depositions before the current expert disclosure deadline of December 13,
22   2021. This request for an extension of time is not sought for delay. Rather, it is sought by
23   the parties solely for the purpose of allowing sufficient time to conduct discovery. The
24   following is a list of the proposed extended deadlines.
25          D. Proposed revised schedule
26                                                         Current Deadline     New Deadline
                 Discovery Cut-Off                         February 9, 2022     May 10, 2022
27               Expert Disclosure Deadline                December 13, 2021    March 11, 2022
                 Rebuttal Expert Disclosure Deadline       January 12, 2022     April 11, 2022
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               Dispositive Motion Deadline              March 11, 2022        June 9, 2022
 1             Proposed Joint Pre-Trial Order           April 11, 2022        July 11, 2022
 2            WHEREFORE, the parties respectfully request that this Court extend the remaining
 3   deadlines by ninety (90) days and the other dates as outlined in accordance with the table
 4   above.
 5     DATED this 29th day of November 2021.           DATED this 29th day of November 2021.
 6     GREENMAN GOLDBERG RABY &                        CHRISTOPHER CHIOU
       MARTINEZ                                        Acting United States Attorney
 7

 8     By:_/s/ William Martin     _____                By:__/s/Skyler H. Pearson_____________
           William Martin                                Skyler H. Pearson
 9         2770 S. Maryland Pkwy, Ste. 100               Assistant United States Attorney
           Las Vegas, NV 89109                           501 S. Las Vegas Boulevard, Suite 1100
10         Attorney for Plaintiff                        Las Vegas, Nevada 89118
                                                         Attorney for the United States
11

12                                              IT IS SO ORDERED:

13                                              DATED this _____ day
                                                       November   30,of2021
                                                                        _____ 2021.

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16                                              UNITED STATES MAGISTRATE JUDGE

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